Case 4:20-cv-00068-RWS-CMC Document 135 Filed 11/19/20 Page 1 of 1 PageID #: 3200




                            IN THE UNITED STATES DISTRICT COURT
                              OF THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

     JUAN LOZADA-LEONI                             §
                                                   §
     v.                                            §                       No. 4:20cv68-RWS-CMC
                                                   §
     MONEYGRAM INTERNATIONAL,                      §
     INC., ET AL.                                  §

                               ORDER EXPEDITING RESPONSE TIME

            The above-referenced cause of action has been referred to the undersigned United States

     Magistrate Judge in accordance with 28 U.S.C. § 636. The following motion is before the Court:

     Intervenor Kardell Law Group’s Motion for Telephone Settlement Conference on Attorney Fees

     Dispute (Docket Entry # 134). The Court, having considered the motion and further considering the

     fast-approaching deadlines in the Court’s Scheduling Order Regarding Attorney Fee Dispute, is of
 .
     the opinion the response time for the motion should be expedited. Accordingly it is

            ORDERED that on or before Monday, November 23, 2020 at 8:30 a.m., Plaintiff and

     Defendants shall file a response to Intervenor’s Motion for Telephone Settlement Conference on

     Attorney Fees Dispute (Docket Entry # 134). It is further

            ORDERED that on or before Tuesday, November 24, 2020 at 8:30 a.m., Intervenor may file

     any reply to the responses.

            IT IS SO ORDERED.

            SIGNED this 19th day of November, 2020.




                                                          ____________________________________
                                                          CAROLINE M. CRAVEN
                                                          UNITED STATES MAGISTRATE JUDGE
